                               Case 2:21-cv-02129-GMN-NJK Document 176 Filed 06/24/22 Page 1 of 2



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                        8
                                                           UNITED STATES DISTRICT COURT
                        9
                                                                   DISTRICT OF NEVADA
                      10

                      11
                                PlayUp, Inc., a Delaware corporation,            Case No. 2:21-cv-02129-GMN-NJK
                      12
                                                     Plaintiff,                  STIPULATION AND ORDER TO EXTEND
                      13                                                         TIME TO FILE REPLY TO MINTAS’
                                       v.                                        RENEWED MOTION TO COMPEL AND
                      14                                                         MOTION FOR SANCTIONS (ECF NO. 154)
                                Dr. Laila Mintas, an individual,
                      15                                                                      [FIRST REQUEST]
                                                     Defendant.
                      16
                                Dr. Laila Mintas, an individual,
                      17
                                                     Counterclaimant,
                      18
                                       v.
                      19
                                PlayUp, Inc., a Delaware corporation; PlayUp
                      20        Ltd., an Australian company; Daniel Simic,
                                an individual,
                      21
                                                     Counterdefendants.
                      22

                      23               Defendant Dr. Laila Mintas (“Mintas”) and Plaintiff PlayUp, Inc. (“PlayUp”), by and
                      24        through their respective counsel of record, hereby submit this stipulation to extend the time for
                      25        Mintas to reply to Mintas’ Renewed Motion to Compel and Motion For Sanctions (ECF No. 154)

                      26        pursuant to LR IA 6-1.

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                      28
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                               Case 2:21-cv-02129-GMN-NJK Document 176 Filed 06/24/22 Page 2 of 2




                         1             On June 3, 2022, Mintas filed her Renewed Motion to Compel And Motion For Sanctions

                         2      (ECF No. 154). PlayUp filed its response to Mintas’ Renewed Motion to Compel And Motion For

                         3      Sanctions on June 17, 2022 (ECF No. 171). Mintas’ reply in support of her Renewed Motion to

                         4      Compel And Motion For Sanctions is due on June 24, 2022.

                         5             Mintas and PlayUp, stipulate and agree that Mintas’ reply to the Renewed Motion to

                         6      Compel And Motion For Sanctions (ECF No. 154) shall be due by Tuesday, June 28, 2022. This

                         7      is the parties’ first request for an extension of time to respond to the motion to compel and is not

                         8      intended to cause any delay or prejudice to any party. This request is sought as Mintas’ counsel

                         9      had a previously scheduled family matter out of the office and the parties have been in depositions.

                      10               IT IS SO STIPULATED.

                      11        Dated this 23rd day of June 2022.                Dated this 23rd day of June 2022.

                      12        NAYLOR & BRASTER                                 ZUMPANO PATRICIOS POPOK & HELSTEN
                      13        /s/ Jennifer L. Braster                          /s/ Amanda Brookhyser
                      14        Jennifer L. Braster Esq.                         Michael Popok, Esq.
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                                Las Vegas, NV 89145                              Las Vegas, NV 89102
                      17

                      18        Attorneys for Dr. Laila Mintas                   Attorneys for PlayUp, Inc.

                      19                                                     ORDER
                      20        IT IS SO ORDERED.
                      21

                      22       Dated: June 24, 2022

                      23                                                                ___________________________________
                                                                                        UNITED STATES MAGISTRATE JUDGE
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